       Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 1 of 12




                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT

                               )
DANIEL E. CARPENTER            )            CzuMINAL NO.3 : 1 3-CR-226(RNC)
       Petitioner              )
                               )
v                              )
                               )
LTNITED STA|ES OF AMERICA      )            MAY 25,2022
      Respondent               )                                  f,l;'ii' li;;¡ l,:f{-"¡1;i1,i Ë]k: j ", iì
                               )                               I'ii-i',ii li:¡i:i:" ¡1i i1i'filii¡¡4¡



      PETITION FOR IMMEDIATE TERMINATION OF SUPERVISED RE,LEASE
    PURSUANT TO THE FIRST STEP ACT, 18 U.S.C. $3583(e)(1) AND 28 U.S.C. 52243




IMMEDIATE ORDER TO SHO\il CAUSE REQUESTED


                                        1
           Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 2 of 12




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

                                    )
DANIEL E. CARPENTER                 )              CRIMINAL NO. 3 : 13 -CR-226(RNC)
           Petitioner               )
                                    )
                                    )
                                    )
I.INITED STATES OF AMERICA          )              MAY 25,2022
                                                                            " liïfHl
                                                                                       lì:Ì:i'.i{l ;il,i r-.þj I lrj;f:
           Respondent               )                                      i il l:i1 Iii:ìi.ril-ij|"i-liljT jiri,jl;iiì
                                    )


     PETITION FOR IMMEDIATE TERMINATION OF SUPERVISED RELEASE
   PURSU,A.NT TO THE FIRST STEP ACT, 18 U.S.C. 93583(eX1) AND 28 U.S.C. 52243

           NOV/ COMES THE PETITIONER, Daniel E. Carpenter, pro se, to ask this Honorable

Court for the immediate termination of his Supervised Release pursuant to 18 U.S.C. $3583(e)(1)

and based on credits provided under the First Step Act, and this Court's inherent power under 28

U.S.C. ç2243 to reduce a sentence of Supervised Release at any time based on the interests of

justice.




                                                                   Respectfully submitted,

                                                                   /s/ Daniel E. Carpenter
                                                                   Daniel E. Carpenter
                                                                   Petitioner, pro se
                                                                   1 I Pond Side Lane
                                                                   West Simsbury, CT
                                                                   06092




IMMEDIATE ORDER TO SHOW CAUSE REQUESTED


                                               2
      Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 3 of 12




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                                     )
DANIEL E. CARPENTER                  )              CRIMINAL NO.3 : 1 3 -CR-226(RNC)
     Petitioner                      )
                                     )
V,                                   )
                                     )
UNITED STATES OF AMEzuCA             )              MAY 25,2022               üiilir*if   ifi Ìl{itill i}f{ li   ; d$t::r
       Respondent                    )                                     i:ll-ïîl] -i"Jliiii j -{iî -il¡ìí;t IÍ"" iiiìi"j
                                     )

 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PETITION FOR
  THE IMMEDIATE TERMINATION OF PETITIONER'S SUPERVISED RELEASE
  PURSU,A,NT TO THE FIRST STEP ACT, 18 U.S.C. $3583(e)(1) AND THE COURT'S
                  INHERENT PO\ryER UNDER 28 U.S.C. 52243

       NOV/ COMES THE PETITIONER, Daniel E. Carpenter, pro se, to ask this Honorable

Courl to reduce the period of his Supervised Release pursuant to 18 U.S.C. $3583(eX1) as provided

for under the First Step Act, and this Court's inherent power under 28 U.S.C. 52243.




IMMEDIATE ORDER TO SHOW CAUSE REQUBSTED


                                                â
                                                J
          Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 4 of 12




                                  PRELIMINARY STATEMENT
          This Court has written the seminal decision on the necessary interaction between the First

StepAct and Section 18 USC 3583(e)(1) to achieve the interests of justicein United States v.

Page, 2020 WL 1698671 at *6-7 (D.Conn. April 8, 2020), where this Court took two full years

off of the Defendant's period of Supervised Release in addition to commuting his sentence to time

served:


          Returning to the First Step Act, I conclude that it authorizes a reduction in a term of
          supervised release. The First Step Act constitutes an authorization to "impose a
          reduced sentence." A sentence is comprised of at least two parts: the term of
          imprisonment and the term of supervised release. See 18 U.S.C. $3583(a) ("The court,
          in imposing a sentence to a term of imprisonment...may include as a part of the
          sentence a requirement that the defendant be placed on a term of supervised release
          after imprisonment..."). The First Step Act therefore authorizes courts to reduce both
          a term of imprisonment and a term of supervised release...This construction comports
          with the statutory text and the remedial purposes of the First Step Act and the Fair
          Sentencing Acts. See Page at7, citing United States v. Simons,375 F.Supp.3d379,382
          (E.D.N.Y. 20re).


          This Court is also well aware that Petitioner has served his full sentence and not received

qwbenefrts from the First Step Act because of the Government's persistence to make sure that

Supervised Release in Petitioner's case was "additional punishment" rather than the

Rehabilitation and gradual reentry into Society that it was meant to be. Therefore, it is black-letter

law in the Second Circuit that Petitioner can apply to this Court for the immediate termination of

his period of Supervised Release because the Bureau of Prisons and the Government have been

negligent in applying the various credits created under the First Step Act to reduce the prison

sentences for White-Collar criminals over the Age of 60. See Levine v. Apker,455 F.3d 7l (2dCir.

2006): "There is no question, moreover, that 28 U.S.C. ç2243 authorizes the district court to

provide habeas relief as law and justice require, including a reduction in a petitioner's term of

supervised release." Id. at77.


                                                   4
        Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 5 of 12




   I.      CRITERIA FOR ENDING SUPERVISED RELEASE

        The Judicial Conference on Criminal Law has elaborated on 18 U.S.C. $ 3583(e)(1)'s

statutory criteria and recommended that probation offlrcers evaluate nine factors when deciding

whether to approve early termination of Supervised Release.

        Those factors are:

        1) Stable community reintegration (e.g., residence, family, employment);
        2) Progressive strides toward supervision objectives and in compliance with all
           conditions of supervision;

        3) No aggravated role in the offense of conviction, particularly large drug or fraud
           offenses;

        4) No history of violence;
        5) No recent arrests or convictions;
        6) No recent evidence of alcohol or drug abuse;
        7) No recent psychiatric episodes;
        8) No identifiable risk to the safety of any identifiable victim; and
        9) No identifiable risk to public safety based on the Risk Prediction Index.
        See United States v. Filocomo, No. 02CR30731S16 (NIGG),2022 WL 118735, at *I

(E.D.N.Y. I an. 12, 2022).




                                                  5
         Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 6 of 12




   il.       IMMEDIATE RELIEF REQUESTED

         Petitioner assumes that the Government will file its standard defamatory objections.

Therefore, this Court should either grant immediate relief and terminate the remaining period of

Petitioner's Supervised Release or issue an Order to Show Cause why relief should not be granted.

Cunently before this Court is Petitioner's 2255 Petition filed November 4, 2021-which if

granted by this Court would result in the vacating of Petitioner's conviction and result in the

cancellation of any Restitution owed. As it stands, it is the Government that is stalling the appeal

to vacate Petitioner's Restitution in this case because Petitioner has six different motions to vacate

his conviction, and the Second Circuit placed Petitioner's Restitution appeal 6(on hold"-at the

request of the Government. But in the famous case of Roy William Hanis, who defrauded several

banks of over $200,000,000, the Court in that case made several instructive observations:

         Restitution for victims is a mandated sentencing objective. However, it is fair to
         analyze that objective's application to the facts of a particular case. There are two
         noteworthy circumstances. First, the victims of Harris's fraud were a consortium of
         sophisticated interrrational banks, advised by accountants and attorneys, whose
         existence and business activities survived the fraud. This does not excuse Harris's
         crimes against them, but the plight of the victims in this case cannot be mistaken
         for the devastated individual victims of schemers such as Bernard Madoff. Second,
         the government cannot reasonably expect to achieve during the balance of Harris's
         supervised release any meaningful redress of the banks' $200 million loss, as
         calculated in the restitution order. The impoverished Madoff victims may, through
         the efforts of various law enforcement and legal sources, achieve at least some
         measure of restitution and financial security. Keeping Harris's supervised release
         restitution obligation in effect until March 2012 will have no effect whatsoever
         upon the balance sheets of the bank victims. The only practical consequence of
         continuing supervision for that purpose is to cripple Harris's efforts to achieve
         full rehabilitation through professional advancement.

         The question posed by 18 U.S.C. $ 3583(e)(1) is whether, in these circumstances,
          an early termination of Harris's supervised release would be "in the interest of
         justice." In approaching that question, I have first, as the statute commands,
          carefully considered the sentencing purposes set forth in $ 3553(a). The magnitude
          of fraud and Harris's role as its architect count against him, but other sentencing
         pulposes working in his favor tip the balance. Harris's offenses were serious but his


                                                   6
       Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 7 of 12




          term of imprisonment was lengthy, in accordance with the guidelines, and just.
          There is no need for further general deterrence. There is no need to protect the
          public from Harris. The desirability of Harris's continued rehabilitation through
          enhanced professional opportunity trumps whatever minimal restitution might be
          obtained by continued supervision.

United States v. Harris,689 F. Supp. 2d 692,695-96 (S.D.N.Y. 2010):

          Therefore, Restitution in this case should not be abarrier to the immediate termination of

Petitioner's remaining period of supervised release.

   ilr.      SPECIAL CIRCUMSTANCES IN THIS CASE WARRANT GRANTING
             IMMEDIATE RELIEF

          Aside from the various motions made to vacate his conviction, Petitioner is entitled to the

same credits and treatment under the First Step Act and the CARES Act that other prisoners

received. All released prisoners are entitled to ask for the termination of their period of Supervised

Release after serving one year. Petitioner began his period of Supervised Release on May 8,2021.

Under the Final Rules for First Step Act Earned Time Credits released in January 2022, Petitioner

is entitled to 1 3 months off, based on 1 5 days per month for 26 months of imprisonment. Petitioner

always had a job in prison and was always receiving psychiatric care andwas supervised by

Government psychiatrists during his period in the Halfway House.

          But Petitioner was meant to be at a Camp at FMC Devens, not Maximum Security at MDC

Brooklyn. Without warning, Petitioner was scooped up at Devens and shipped to MDC Brooklyn

over Thanksgiving in November 2019. His family did not hear from him for four days. Based on

Judge Gorton's now famous formula in United Stotes v. Macfarlane,43S F.Supp .3d I25 (D.Mass.

Apr. 14, 2020), each week spent in a High or Maximum-Security facility equals a month off of

the traditional Camper's sentence. Just counting the weeks from December 1, 20T9 to May 31,

2020 means that Petitioner is entitled to 28 months off of his "sentence" or Supervised Release,

and before the Government complains yet again that Judge Gorlon is wrong-the purpose of


                                                    7
       Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 8 of 12




reviewing the standards under 18 U.S.C 3553 is to make sure that there are no sentencing

disparities between the Circuits. People who actually pleaded guilty to fraud in Boston in the

"Varsity Blues" case received ridiculously low sentences when compared to Petitioner-who

never pleaded guilty, who is actually innocent, and who is still trying to vacate his convictions in

Boston as well as Connecticut. Similarly, the Government protested Petitioner's release under the

CARES Act despite the fact that Petitioner had served over 25Yo of his sentence and was under

18 months to the door.

       Petitioner does not want to belabor the point, because the truth of the matter is in the

Docket. In the Government's last filings, they still referred to Petitioner as a danger to the

Community. See e.g. Doc. 545 at 6. Petitioner respectfully asks the Court to grant Petitioner's 8-

month-old 2255 Petition in order to hasten the Government's day of reckoning in front of Judge

Underhill-a case that is a decade old and on its way to the Second Circuit for a third time.

        But that is far from the only violation of the Constitution in this case. Petitioner

respectfully refers the Court to the Benatta case, United States v. Benatta,2003 WL 2220237I

(W.D.N.Y. 2003), where a suspected 9-11 Terrorist had his indictment dismissed because he only

spent four months at MDC Brooklyn instead of Petitioner's six months. Petitioner had to suffer

through his 2016 trial at Wyatt because the Govemment never sent the Speedy Trial Notice

required pursuant to 18 U.S.C 3161(j) to anyone aI Canaan, much less than the Warden as required

by law. See Petitioner's November 4,20212255 Petitioner atpp 64-67, for an in depth discussion

of Benattaand the Government's violation of 18 U.S.C 3161(i).

        "[T]he Due Process Clause always protects defendants against fundamentally unfair

treatment by the govemment in criminal proceedings." United States v. Ray,578 F.3d I84,199 (2d

Cir. 2009), citing Doggett v. United States, 505 U.S. 647, 666 (1992).In Ray, in trying to craft a



                                                  I
       Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 9 of 12




remedy for the Due Process violation for the delay in Ms. Ray's case, the Second Circuit eliminated

the need for her to serve any of her custodial sentence or serve her time in a Halfway House and

stated the following:

       "The appropriate remedy for a proven due process violation often depends on the stage at
       which the violation is found and the relief sought. After a due process violation has
       occurred, courts endeavor to fashion relief that counteracts the prejudice caused by the
       violation. The Sixth Circuit has stated that suspension of the remainder of the sentence is
       the appropriate remedy for a due process violation.... The violation of Ray's due process
       right has prejudiced her insofar as a delayed custodial sentence threatens to undermine her
       successful rehabilitation. To remedy that harm, the appropriate relief is to release her from
       any requirement that she submit to a custodial sentence. Accordingly, we conclude that the
       appropriate remedy in this case is the vacatur of Ray's sentence insofar as it imposes a six-
       month term of residence in a halfway house." Ray at202-03.

   IV.     PETITIONER IS ENTITLED TO RELIEF

       Petitioner is an innocent man that was the victim of egregious prosecutorial misconduct

detailed in two different Petitions before this Court. However, even assuming arguendo that

Petitioner was as guilty as famous defendants Ronald Filocomo or Roy 'William Harris, both of

whom had their periods of Supervised Release terminated by the Court, the goals of Supervised

Release have been reached. He has successfully reentered Society and there is no need for the

Probation Offrce to waste valuable time and money to supervise Petitioner. Clearly it is in the

interests of justice to terminate Petitioner's period of Supervised Release-if not getting a full

apology from the Government for their wrongful defamation of Petitioner over the years.

        Petitioner meets all of the relevant criteria from $ 3553(a) and the nine policy criteria

outlined above from Filocomo.

        But what were Petitioner's crimes? Allegedly he did not "disclose" to his investors that he

was losing money during the NASDAQ Stock Market Crash of 2000-and then he allegedly lied

to insurance carriers in2007-2008 on insurance applications that he never filled out, signed, or

sent in. That is it. Eventually this Court will grant relief, or the Second Circuit will grant relief


                                                  9
      Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 10 of 12




based on United States v. Countrywide, 822 F.3d 650 (2d Cir.2016), or the Supreme Courl will

grantreliefbased onSkillingv. UnitedStates,56T U.S.358 (2010) andKellyv. Unitedstates, I40

S.Ct. 1565,1573-74 (2020). There is no good reason to keep "supervising" an innocent man

purportedly in the interests ofjustice. If the Supreme Court could receive the Defendant's Writ in

Ex Parte Meruyman,lT F. Cas.144 (1861) on May 25,186I, during the Civil War-and grant the

Writ two days later on May 27, l86l-this Court should be able to do the same as the Pandemic

is over and we are not at war.

       While the Govemment clearly defamed and ruined Petitioner's life and there is no way for

Petitioner to get back the last 20 years-Petitioner respectfully asks the Court to review what

Petitioner did with his time in prison from June 2014 to}4ay 202I. Petitioner wrote several books

including writing, compiling, and editing The Prisoner of Hope Bible, that is available on

Amazon-and he helped over 180 inmates with their legal work resulting in 120 of them getting

out of prison early under the First Step Act and the Cares Act. This Court would be acting in the

interests ofjustice if it granted this Petition, terminated Petitioner's remaining period of supervised

Release, and then ordered the Government to respond to Petitioner's 2255 and 2241 Petitions.

Once Petitioner received his law license back, he would make an excellent CJA attorney.




                                                  i0
      Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 11 of 12




                                        CONCLUSION

        Petitioner respectfully suggests that he deserves the same Due Process considerations as

the defendants in Ray and Benatta, and asks only for the Court to recognize the many Due Process

violations in this case and apply the Eamed Time Credits of the First Step Act and Judge Gofton's

calculation of time credits under Macfarlane to resentence Petitioner and to immediately terminate

his remaining period of Supervised Release as was done by the Second Circuit in Ray, or to take

off two years of his remaining Supervised Release as this Court did in Page.

                                                                     Respectfully submitted,
                                                                     /s/ Daniel E. Carpenter
                                                                     Daniel E. Carpenter
                                                                     Petitioner, pro se
                                                                     18 Pond Side Lane
                                                                     V/est Simsbury, CT
                                                                     06092




                                                11
      Case 3:13-cr-00226-RNC Document 547 Filed 05/25/22 Page 12 of 12




                                           CERTIFICATION


I hereby certifu that on this twenty-fifth day of May, 2022, a copy of the foregoing was filed to
the Clerk of the Court. Notice of this filing was also sent by USPS First Class to AUSANeeraj
Patel 157 Church Street, 25th Floor, New Haven, CT 06510


                                                      By:,/s,/ Daniel E. Carpenter
                                                       Daniel E. Carpenter
                                                       Petitioner, pro se
                                                       18 Pond Side Lane
                                                       West Simsbury, CT. 06092




                                                 12
